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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                               EL PASO DIVISION

 AURELIO TARAZONA CARVAJAL,       §
 EDUAR HURTADO GARCIA, ELKIN      §
 HUMBERTO GÓMEZ PINTO, FREDY      §
 ALEXANDER HERRERA PICO, JAIRO    §
 ANDRÉS ARDILA PEÑA, JORGE        §
 ELIECER DIAZ GALVIS, WILSON      §
 FABIAN PEÑA CASTILLO, JUAN DAVID §                       EP-23-CV-00245-RFC
 GARCÍA RODRIGUEZ,                §
      Plaintiffs,                 §
                                  §
 v.                               §
                                  §
 MIJELUM, L.L.C., LUIS MUCHARRAZ, §
 and LEON MUCHARRAZ,              §
       Defendants.                §


                          MEMORANDUM OPINION AND ORDER

       Before the Court are Defendants Luis Mucharraz and Leon Mucharraz’s (“Mucharraz

Defendants”) “Motion to Dismiss” (ECF No. 35) and “Conditional Motion for Extension of

Deadlines” (ECF No. 36), filed on December 11, 2024, as well as the parties’ “Joint Motion to

Abate Scheduling Order Pending Resolution of Motions Before the Court” (ECF No. 41), filed on

January 27, 2025. For the reasons set forth below, the Court GRANTS the Motion to Dismiss,

DENIES the Conditional Motion for Extension of Deadlines, and DENIES the Joint Motion to

Abate Scheduling Order.

                                     I.     BACKGROUND

       Plaintiffs filed suit under the Fair Labor Standards Act (“FLSA”), alleging that the

defendants in this case did not pay them overtime as required under the FLSA. Pls.’ First Am.

Compl. ¶¶ 16–21, ECF No. 22. Plaintiffs state that they were highway maintenance workers who

worked for Defendant Mijelum, L.L.C. in 2021 and 2022. Id. ¶ 17. They allege that they were
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paid a flat weekly rate of $600, despite working 14-hour days, six or seven days per week. Id.

¶¶ 18–19.

       Plaintiffs first filed suit solely against Mijelum, L.L.C. on June 27, 2023. See Pls.’ Original

Compl, ECF No. 1. On February 2, 2024, Plaintiffs moved for leave to file their first amended

complaint, adding the Mucharraz Defendants to the case. See Pls.’ Mot. Leave File Pls.’ First Am.

Compl., ECF No. 18. The Court denied this first request, as the deadline for joinder had passed.

See Order Den. Pls.’ Mot. Leave File Pls.’ First Am. Compl., ECF No. 19. Plaintiffs refiled their

motion, this time showing good cause for an extension of the joinder deadline. See Pls.’ Second

Mot. Leave File Pls.’ First Am. Compl., ECF No. 20. The Court granted this second request. See

Mem. Op. & Order, ECF No. 21. Plaintiffs’ first amended complaint was filed on March 28, 2024.

See Pls.’ First Am. Compl., ECF No. 22.

       On December 11, 2024, the Mucharraz Defendants filed the present motion to dismiss. See

Mot. Dismiss, ECF No. 35. They also filed a conditional motion for extension of deadlines in the

case, requesting that, if their motion to dismiss be denied, the current scheduling deadlines in effect

be extended. See Conditional Mot. Extension Deadlines, ECF No. 36.

                                            II.     STANDARD

       Federal Rule of Civil Procedure 12(b)(6) provides for dismissal of a complaint when a

defendant shows that the plaintiff has “fail[ed] to state a claim upon which relief can be granted.”

Fed. R. Civ. P. 12(b)(6). On a Rule 12(b)(6) motion, a “court accepts all well-pleaded facts as true

and must consider those facts in the light most favorable to the plaintiff.” Romero v. City of

Grapevine, 888 F.3d 170, 176 (5th Cir. 2018). But the court does not accept as true “conclusory

allegations, unwarranted factual inferences, or legal conclusions.” Ferrer v. Chevron Corp., 484

F.3d 776, 780 (5th Cir. 2007) (citation omitted).



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       “To survive a motion to dismiss, a complaint must contain sufficient factual matter,

accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). A complaint

states a “plausible claim for relief” when the factual allegations contained in it allow the court to

infer actual misconduct by the defendant, not a “mere possibility of misconduct.” Id. at 679. The

complaint “‘does not need detailed factual allegations,’ but must provide the plaintiff’s grounds

for entitlement to relief—including factual allegations that when assumed to be true ‘raise a right

to relief above the speculative level.’” Cuvillier v. Taylor, 503 F.3d 397, 401 (5th Cir. 2007)

(quoting Twombly, 550 U.S. at 555).

                                          III.    DISCUSSION

       To begin, the Court notes that in their response, Plaintiffs refer to the Mucharraz

Defendants’ depositions as evidence in support of their position. See, e.g., Pls.’ Resp. Defs. Luis

Mucharraz & Leon Mucharraz’s Mot. Dismiss ¶¶ 6–11, 43 [hereinafter Resp.], ECF No. 39. In

ruling on a 12(b)(6) motion to dismiss, a court “may rely on the complaint, its proper attachments,

‘documents incorporated into the complaint by reference, and matters of which a court may take

judicial notice.’” Randall D. Wolcott, M.D., P.A. v. Sebelius, 635 F.3d 757, 763 (5th Cir. 2011)

(citation omitted). The Mucharraz Defendants’ depositions do not fall into any of these categories.

Therefore, the Court will not consider any evidence taken from these depositions in making its

determination.

       The Court now turns to the substance of the Individual Defendants’ motion to dismiss.

   A. Whether Plaintiffs Sufficiently Pled that the Mucharraz Defendants Were Their
      Employers

       The Mucharraz Defendants argue that Plaintiffs have not established that the Mucharraz

Defendants are “employers” under the FLSA or that there was an employer-employee relationship

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between the Individual Defendants and Plaintiffs. Mot. Dismiss 13–16, 17–18. They argue that

“[a] plaintiff must allege sufficient factual content to show that the individual exercised operational

control over significant aspects of the business’s employment relationship” and “[c]onclusory

assertions of general control are insufficient.” Id. at 14. They assert that Plaintiffs did not specify

that the Individual Defendants had any hiring or firing authority, supervision or control over work

schedules, control over wage or payment decisions, or recordkeeping responsibilities. Id. at 14–

15.

         Plaintiffs claim that they have pled enough to show that the Mucharraz Defendants were

employers. Resp. ¶¶ 39–44. However, most of the evidence that Plaintiffs refer to is from the

Mucharraz Defendants’ depositions. See id. ¶ 43. The statements that Plaintiffs make in their

amended complaint will be addressed below.

         The FLSA provides that “[a]ny employer” who fails to pay overtime as required under the

Act “shall be liable to the employee or employee affected in the amount of . . . their unpaid

overtime compensation.” 29 U.S.C. § 216(b). In an action for unpaid overtime, a plaintiff must

show “(1) that there existed an employer-employee relationship during the unpaid overtime

periods claimed; (2) that the employee engaged in activities within the coverage of the FLSA; (3)

that the employer violated the FLSA's overtime wage requirements; and (4) the amount of overtime

compensation due.” Johnson v. Heckmann Water Res. (CVR), Inc., 758 F.3d 627, 630 (5th Cir.

2014).

         “The remedial purposes of the FLSA require the courts to define ‘employer’ more broadly

than the term would be interpreted in traditional common law applications.” Orozco v. Plackis,

757 F.3d 445, 448 (5th Cir. 2014) (citation omitted). “An employer includes any person acting

directly or indirectly in the interest of an employer in relation to an employee.” Gray v. Powers,



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673 F.3d 352, 354 (5th Cir. 2012) (cleaned up). The test for whether an individual or an entity is

an employer is whether the alleged employer:

       (1) possessed the power to hire and fire the employees, (2) supervised and
       controlled employee work schedules or conditions of employment, (3) determined
       the rate and method of payment, and (4) maintained employment records.

Id. at 355 (citation omitted). This is known as the “economic reality” or “economic realities” test.

Id. “In cases where there may be more than one employer, th[e] court ‘must apply the economic

realities test to each individual or entity alleged to be an employer and each must satisfy the four

part test.’” Id. (citation omitted). However, “each element need not be present in every case.” Id.

at 357. And the presence of only one element may be enough to defeat a 12(b)(6) motion to

dismiss. See, e.g., Rosales v. Indus. Sales & Servs., LLC, No. 6:20-CV-00030, 2021 WL 5865706,

at *3 (S.D. Tex. Dec. 10, 2021) (concluding that the allegation that the defendant personally fired

the plaintiff satisfies the first element of the economic realities test and “is enough to survive the

pleading standard of Rule 12(b)(6)”).

       In the complaint, Plaintiffs restate the economic realities test and then claim that the

Mucharraz Defendants “fall under this definition of ‘employer’ under the FLSA and are subject to

liability under the Act.” Pls.’ First Am. Compl. ¶¶ 37–38. This is a conclusory or legal allegation.

Plaintiffs also state that the Mucharraz Defendants “were individual corporate officers who were

responsible for determining the rate and method of compensation of Plaintiffs, which were

improper in this case, and are therefore liable as employers.” Id. ¶ 22. However, this simply

restates one of the elements of the economic realities test and does not provide any specific factual

allegations. Another court concluded that a statement that the defendant determined the plaintiffs’

rate and method of payment and controlled their working conditions was a conclusory allegation

and that, without more, there was no claim against the defendant as an employer. Joaquin v.


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Coliseum Inc., No. A-15-CV-787-LY, 2016 WL 3906820, at *4 (W.D. Tex. July 13, 2016), report

and recommendation approved sub nom. Joaquin v. Hinojosa, 2016 WL 7647630 (W.D. Tex. Aug.

2, 2016).    Additionally, Plaintiffs never even explained in their amended complaint what

Defendants’ relationship is to Mijelum or Plaintiffs. The lack of factual allegations in the amended

complaint means that Plaintiffs have not plausibly established that the Mucharraz Defendants were

their employers.

   B. Whether Plaintiffs Sufficiently Alleged Covered Activities Under the FLSA

       The Court finds Plaintiffs’ amended complaint deficient in other areas, as well. The

Mucharraz Defendants argue that the amended complaint does not provide any factual allegations

to show that Plaintiffs were engaging in activities covered by the FLSA. Mot. Dismiss 18. The

Mucharraz Defendants point out that Plaintiffs do not “describe the nature of their work, how it

relates to interstate commerce, or whether Mijelum, L.L.C., or the [Mucharraz] Defendants met

the definition of an enterprise engaged in commerce.” Id. The Court agrees.

       “The FLSA guarantees overtime pay to employees engaged ‘in the production of goods for

commerce’ (‘individual coverage’) or ‘employed in an enterprise engaged in commerce or in the

production of goods for commerce’ (‘enterprise coverage’).” Martin v. Bedell, 955 F.2d 1029,

1032 (5th Cir. 1992) (quoting 29 U.S.C. § 207(a)(1)). “Either individual or enterprise coverage is

enough to invoke FLSA protection.” Id. “To survive defendants’ motion to dismiss, [the plaintiff]

must allege facts that show coverage under FLSA.” Morrow v. J.W. Elec., Inc., No. 3:11–CV–

1988–D, 2011 WL 5599051, at *2 (N.D. Tex. Nov. 16, 2011); see also Lindgren v. Spears, No.

H–10–1929, 2010 WL 5437270, at *2 (S.D. Tex. Dec. 27, 2010) (stating that coverage under the

FLSA should be considered an element of the cause of action and should be analyzed under

12(b)(6)).



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       Plaintiffs state:

               At all times hereinafter mentioned, Defendant Mijelum has been an
       enterprise engaged in commerce or in the production of goods for commerce within
       the meaning of Section 3(s)(1) of the FLSA, 29 U.S.C. § 203(s)(1), in that said
       enterprises have employees engaged in commerce or in the production of goods for
       commerce, or employees handling, selling, or otherwise working on goods or
       materials that have been moved in or produced for commerce by any person and in
       that said enterprises have had and has an annual gross volume of sales made or
       business done of not less than $500,000 (exclusive of excise taxes at the retail level
       which are separately stated).
               At all times hereinafter mentioned, Plaintiffs were individual employees
       who were engaged in commerce or in the production of goods for commerce as
       required by 29 U.S.C. §§ 206-207.

Pl.’s First Am. Compl. ¶¶ 32–33. These are legal conclusions. Plaintiffs’ only statement about

their actual work is that they are highway maintenance workers. Id. ¶ 17. Plaintiffs do not provide

any details about what their job duties were or what type of business Mijelum even is.

       In Morrow, the court held that the plaintiff did not plead enough to survive a 12(b)(6)

motion when the plaintiff “merely recite[d] the statutory elements of FLSA coverage.” Morrow,

2011 WL 5599051, at *3. The plaintiff described what his work was but did not explain “how that

work engages him in interstate commerce.” Id. The plaintiff also did not sufficiently plead

enterprise coverage, because he only made allegations “that defendants ‘had employees engaged

in commerce or in the production of goods for commerce’” without any factual support. Id.

       Similarly, in Lindgren, the court granted the defendant’s 12(b)(6) motion when the plaintiff

did nothing but “repeat the statutory elements of coverage,” concluding that there were “no factual

allegations that would permit this court to find that the elements of FLSA coverage are properly

pleaded.” 2010 WL 5437270, at *3.

       Here, Plaintiffs have provided nothing but repeat the statutory elements of coverage under

the FLSA with no facts to establish either individual coverage or enterprise coverage under the

FLSA. Thus, the Court concludes that the Mucharraz Defendants’ motion to dismiss should also

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be granted on these grounds. Because the Court is granting the Mucharraz Defendants’ motion to

dismiss for the above-stated reasons, the Court will not reach the Mucharraz Defendants’ other

arguments in their motion.

   C. Whether the Court Should Grant Plaintiffs Leave to Amend

       Plaintiffs request leave to amend their complaint “to add any additional factual statements.”

Pls.’ Resp. Defs. Luis Mucharraz & Leon Mucharraz’s Mot. Dismiss ¶ 42. The Federal Rules of

Civil Procedure allow a party to amend its pleading with leave of the court and states that “[t]he

court should freely give leave when justice so requires.” Fed. R. Civ. P. 15(a)(2). However, in a

case where the deadline for amending pleadings has passed, Federal Rule of Civil Procedure 16

also governs. S&W Enters., L.L.C. v. SouthTrust Bank of Ala., NA, 315 F.3d 533, 535–36 (5th Cir.

2003); see also Olivarez v. T-mobile USA, Inc., 997 F.3d 595, 602 (5th Cir. 2021) (applying the

Rule 16(b) standard in a case where the defendants’ motions to dismiss had been granted and the

plaintiff subsequently requested leave to file an amended complaint after the deadline to do so had

passed). Rule 16 provides that a scheduling order “may be modified only for good cause.” Fed.

R. Civ. P. 16(b)(4). This requires consideration of “(1) the explanation for the failure to [timely

move for leave to amend]; (2) the importance of the [amendment]; (3) potential prejudice in

allowing the [amendment]; and (4) the availability of a continuance to cure such prejudice.” S&W

Enters., 315 F.3d at 536 (citation omitted). Trial courts have “broad discretion to preserve the

integrity and purpose of the pretrial order.” Id. at 535 (citation omitted).

       The deadline to amend pleadings in this case was December 27, 2023. Am. Scheduling

Order 1, ECF No. 10. There is not good cause to permit another amendment of Plaintiffs’

complaint. Plaintiffs could have sought leave to amend their complaint earlier with additional




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factual allegations but chose not to.1 Although this amendment is important because it would

allow Plaintiffs to keep the Mucharraz Defendants in the case, Plaintiffs still will be able to assert

their claim against Defendant Mijelum. Further, allowing Plaintiffs to amend their complaint now,

after the close of discovery and close to the deadline for dispositive motions, would prejudice the

Mucharraz Defendants. The Court could grant a continuance to cure such prejudice, but such a

continuance would have to be extensive, and, with the trial date set in May, a lengthy continuance

is not available.

    D. Extension of Scheduling Order Deadlines

        Two motions for modification of scheduling order deadlines are currently pending before

the Court: the Mucharraz Defendants’ Conditional Motion for Extension of Deadlines and the

parties’ Joint Motion to Abate Scheduling Order Pending Resolution of Motions Before the Court.

With this order, the Court resolves the pending motion to dismiss. Therefore, the Court will deny

the motion to abate the scheduling order.               Additionally, because the Court is granting the

Mucharraz Defendants’ motion to dismiss, the Court will deny their conditional motion to extend

the scheduling deadlines.

                                                IV.      CONCLUSION

        For the foregoing reasons, IT IS ORDERED that Defendants Luis Mucharraz and Leon

Mucharraz’s Motion to Dismiss (ECF No. 35) is GRANTED.                              Accordingly, it is hereby

ORDERED that Plaintiffs’ claims against Defendants Luis Mucharraz and Leon Mucharraz are

DISMISSED without leave to amend.




        1
          In their response to the Mucharraz Defendants’ motion to dismiss, Plaintiffs base their factual allegations
on the Mucharraz Defendants’ depositions, which were taken on March 5, 2024. See Resp. Ex. 1, ECF No. 39-1;
Resp. Ex. 2, ECF No. 39-2.

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      IT IS FURTHER ORDERED that Defendants Luis Mucharraz and Leon Mucharraz’s

Conditional Motion for Extension of Deadlines (ECF No. 36) is DENIED.

      IT IS FURTHER ORDERED that the Parties’ Joint Motion to Abate Scheduling Order

Pending Resolution of Motions Before the Court (ECF No. 41) is DENIED.

      Signed this 24th day of February, 2025.




                                   ROBERT F. CASTAÑEDA
                                   UNITED STATES MAGISTRATE JUDGE




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